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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF RHODE ISLAND

   CVS HEALTH CORPORATION AND             )
   SUBSIDIARIES,                          )                Case No. 1:23-cv-00492-MSM
                                          )
            Plaintiff,                    )
                                          )
            v.                            )
                                          )
   UNITED STATES OF AMERICA,              )
                                          )
            Defendant.                    )
   _______________________________________)

                              JOINT PROPOSED DISCOVERY PLAN

           The parties met and conferred by videoconference on April 5, April 30, and May 10,

  2024, pursuant to Rule 26(f) of the Federal Rules of Civil Procedure. The parties addressed the

  topics set forth in Rule 26(f) during the course of their videoconferences.

           The parties propose the following discovery schedule:

                                                                                Deadline

           Rule 26(a)(1) Initial Disclosures:                                   May 30, 2024

           Completion of Fact Discovery:                                        November 28, 2025

           Rule 26(a)(2) Expert Witnesses Disclosures:                          December 29, 2025

           Rebuttal Expert Witness Disclosures:                                 January 29, 2026

           Completion of Expert Discovery:                                      May 29, 2026

           With respect to depositions taken pursuant to Rule 30 of the Federal Rules of Civil

  Procedure, the parties propose increasing the number of depositions that may be taken by a party

  without leave of the Court from 10 to 30 depositions. Further, the parties propose that, unless

  otherwise agreed, all depositions, whether taken in the District of Rhode Island or outside of the

  district, shall be taken in person, where practicable.


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           With respect to interrogatories propounded pursuant to Rule 33 of the Federal Rules of

  Civil Procedure, the parties propose to increase the number of interrogatories that a party may

  serve on the other party from 25 to 75.

           Pursuant to Fed. R. Civ. P. 5(b)(2)(E), the parties agree that service on a party in this case

  may be made by email and by secure file transfer protocol (such as the United States’ Justice

  Enterprise File Sharing system) to the party’s counsel of record, or by any other means permitted

  by Fed. R. Civ. P. 5(b).

           Additionally, pursuant to Fed. R. Civ. P. 5(b)(2)(F), the parties agree that service on a

  party may be made by using a private delivery service such as FedEx or DHL to send materials

  to that party’s counsel of record, or by any other means permitted by Fed. R. Civ. P. 5(b).




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  Dated: May 16, 2024


                                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on May 16, 2024, I electronically filed the foregoing document with

  the Clerk of Court using the CM/ECF system, which will send notification of such filing to all

  registered participants.



                                                        /s/ James E. Weaver
                                                        James E. Weaver




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